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                    UNITED STATES DISTRICT COURT

                     DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA             )
                                     )
          v.                         )   CRIMINAL NO. 15-10271-WGY
                                     )
ALEX LEVIN                           )

                    STIPULATED PROTECTIVE ORDER

     1.    Pursuant to Federal Rule of Criminal Procedure 16(d),

the parties hereby stipulate that good cause exists for the

following protective order in regard to certain discovery in

this case.

     2.    The defense will not disseminate, duplicate or

disclose materials designated as “Sensitive” or “Sealed” to

anyone outside of the defendant and the “defense team” as

outlined herein without prior approval from the court.

     3.    “Defense team” shall include the defendant, counsel

for the defendant, legal assistants, paralegals, investigators

within the Federal Public Defender Office, as well as experts

and other individuals hired specifically to assist in the

preparation and trial of this case.

     4.    Notwithstanding the limitations in Paragraph 1, the

defense team will be permitted to disseminate, duplicate or

disclose materials designated as “Sensitive” to counsel of
     Case 1:15-cr-10271-WGY Document 36-1 Filed 01/31/16 Page 2 of 2



record in other pending Website A/Operation Pacifier/Network

Investigative Technique cases.     When disclosing materials under

this Paragraph, the defense team will inform the attorney to

whom disclosure is made of the existence of this Order.

     5.   Nothing in this Stipulated Protective Order should be

construed to restrict the use and dissemination of materials

unsealed in other jurisdictions or otherwise available in the

public domain.




SO STIPULATED:


DATED: January 29, 2016          CARMEN M. ORTIZ
                                 United States Attorney
                                 By:

                                 /s/ David G. Tobin
                                 David Tobin
                                 Assistant U.S. Attorney


DATED: February 1, 2016          /s/ Samir Zaganjori
                                 SAMIR ZAGANJORI
                                 Counsel for ALEX LEVIN


IT IS SO ORDERED.



_____________________________ Dated: __________________
Hon. MARIANNE B. BOWLER
United States Magistrate Judge


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